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 5
                            IN THE UNITED STATES DISTRICT COURT
 6
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                                 )
 9   UNITED STATES OF AMERICA,                     )   Case No.: 2:16-cr-00217-MCE
                                                   )
10                   Plaintiff,                    )   STIPULATION AND [PROPOSED]
                                                   )   ORDER FOR CONTINUANCE OF
11          vs.                                    )   STATUS CONFERENCE
                                                   )
12   SATISH KARTIN, and                            )   Date: March 30, 2017
     SHARMISTHA BARAI,                             )   Time: 10:00 a.m.
13                                                 )   Judge: Morrison C. England, Jr.
                     Defendants.                   )
14
15
            The United States of America through its undersigned counsel, Nirav Desai,
16
     Assistant United States Attorney, together with Thomas A. Johnson, counsel for
17
     defendant, Sharmistha Barai, and Mark Reichel, counsel for defendant, Satish Kartan,
18
     hereby stipulate the following:
19
        1. By previous order, this matter was set for Status Conference on February 16, 2017.
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        2. By this stipulation, Defendants now move to continue the Status Conference to
21
            March 30, 2017, at 10:00 a.m. and to exclude time between February 16, 2017,
22
            and, March 30, 2017, under the Local Code T-4 (to allow defense counsel time to
23
            prepare).
24
        3. The parties agree and stipulate, and request the Court find the following:
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            a. The government represents that it will be producing additional discovery
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                  consisting of reports, emails, and other discovery between the date of this
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                  stipulation and March 30, 2016, to supplement the approximately 5,600 pages
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                  of discovery produced to date.

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 1        b. A continuance is requested because all counsel for the defendants need
 2            additional time to review the discovery, conduct investigation, and discuss
 3            potential resolutions.
 4        c. Counsel for defendants believe the failure to grant a continuance in this case
 5            would deny defense counsel reasonable time necessary for effective
 6            preparation, taking into account the exercise of due diligence.
 7        d. The Government does not object to the continuance.
 8        e. Based on the above-stated findings, the ends of justice served by granting the
 9            requested continuance outweigh the best interests of the public and the
10            defendants in a speedy trial within the original date prescribed by the Speedy
11            Trial Act.
12        f. For the purpose of computing time under the Speedy Trial Act, 18 United
13            States Code Section 3161(h)(7)(A) within which trial must commence, the
14            time period of February 16, 2017, to March 30, 2017, inclusive, is deemed
15            excludable pursuant to 18 United States Code Section 3161(h)(7)(A) and
16            (B)(iv), corresponding to Local Code T-4 because it results from a continuance
17            granted by the Court at defendant’s request on the basis of the Court’s finding
18            that the ends of justice served by taking such action outweigh the best interest
19            of the public and the defendant in a speedy trial.
20     4. Nothing in this stipulation and order shall preclude a finding that other provisions
21        of the Speedy Trial Act dictate that additional time periods are excludable from
22        the period within which a trial must commence.
23
24   IT IS SO STIPULATED.
25
26   DATE: February 13, 2017
27                                                   /s/ Thomas A. Johnson
                                                     THOMAS A. JOHNSON
28                                                   Attorney for Sharmistha Barai


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     DATED: February 13, 2017                    PHILLIP A. TALBERT
 1                                               Acting United States Attorney
 2                                         By:   /s/ Thomas A. Johnson for
                                                 NIRAV DESAI
 3                                               Assistant U.S. Attorney
 4   DATED: February 13, 2017
                                           By:   /s/ Thomas A. Johnson for
 5                                               MARK REICHEL
                                                 Attorney for Satish Kartan
 6
 7                                       ORDER
 8
 9            IT IS SO ORDERED.

10
11   Dated:
                                          _____________________________
12                                        MORRISON C. ENGLAND, Jr.
13                                        Chief United States District Court Judge

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